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 1   PAUL B. MELTZER
     Attorney at Law
 2   State Bar No. 077425
     511 Water Street
 3   Santa Cruz, CA 95060
     (831)426-6000; FAX (831)426-2749
 4
     Attorney for: OSCAR CAMPOS-PADILLA
 5
                             IN THE UNITED STATES DISTRICT COURT
 6                         FOR THE EASTERN DISTRICT OF CALIFORNIA
 7   UNITED STATES OF AMERICA,           ) Case Nos. CR-S-07-248 WBS
                                         )
 8          Plaintiff,                   )
                                         )
 9     v.                                ) STIPULATION AND ORDER
                                         )
10   OSCAR CAMPOS-PADILLA,               )
                                         )
11          Defendant.                   )
          ______________________________ )
12

13          Defendant, OSCAR CAMPOS-PADILLA, by his counsel, Paul B. Meltzer, and United
     States Attorney, Jason Hitt, stipulate and agree to the travel request by the defendant, Oscar
14   Campos-Padilla, as set forth in the attached order to travel to Las Vegas.
15
     Respectfully Submitted,
16

17

18
     DATED: April 10, 2008                       By:                      /S/
19
                                                         PAUL B. MELTZER; Attorney for
20                                                       Defendant, OSCAR CAMPOS-PADILLA
21

22

23
     DATED: April 10, 2008                        By:
24                                                                       /S/
25                                                       JASON HITT; United States
                                                         Attorney
26

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     SFI-579462v1
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 2                                UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF CALIFORNIA
 3                                    SACRAMENTO DIVISION
 4
     UNITED STATES OF AMERICA,                    ) No. CASE NO. Cr.S-07-248-WBS-DAD
 5                                                )
                    Plaintiff,                    )
 6      vs.                                       ) ORDER
                                                  )
 7   OSCAR CAMPOS-PADILLA                         )
                                                  )
 8                  Defendant.                    )
                                                  )
 9

10   GOOD CAUSE SHOWN,
11            IT IS HEREBY ORDERED that Defendant Oscar Campos-Padilla is allowed to travel to
     Las Vegas, NV on Friday, April 11th, 2008 at 9 A.M. and returning Sunday, April 13th, 2008
12   arriving at his home no later than 11 P.M. Prior to leaving the Defendant shall provide a detailed
     travel itinerary to U.S. Pre-Trial Services Laura Weigel.
13

14   SO ORDERED.
15   DATED: April 11, 2008.
16
                                               ______________________________________
17                                             DALE A. DROZD
                                               UNITED STATES MAGISTRATE JUDGE
18

19   Ddad1/orders.criminal/campos-padilla0248.ord
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